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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                              §
In re                                                         §         Chapter 11
                                                              §
NPC INTERNATIONAL, INC.,                                      §         Case No. 20–33353 (DRJ)
et al.,                                                       §
                    Debtors.1                                 §         (Jointly Administered)
                                                              §

      SUMMARY OF THIRD INTERIM AND FINAL FEE APPLICATION OF WEIL,
     GOTSHAL & MANGES LLP, ATTORNEYS FOR DEBTORS, FOR INTERIM AND
      FINAL ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
    RENDERED AND REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES
         INCURRED FROM (I) THIRD INTERIM PERIOD OF JANUARY 1, 2021
            THROUGH MARCH 31, 2021 AND (II) FINAL COMPENSATION
        PERIOD OF JULY 1, 2020 THROUGH AND INCLUDING MARCH 31, 2021

    Name of Applicant:                                       Weil, Gotshal & Manges LLP
    Applicant’s Role in Case:                                Attorneys for Debtors and Debtors in Possession
    Date Order of Employment Signed:                         August 14, 2020 [Docket No. 435]
                                              Third Interim Fee Period
                                                                  Beginning of Period           End of Period
    Time Period Covered by the Third Interim Fee
                                                                    January 1, 2021             March 31, 2021
    Period:
    Total Fees Requested in the Third Interim Fee Period:                                       $6,673,028.50
    Total Attorney Fees Requested in the Third Interim Fee Period:                              $6,546,982.50
    Total Actual Attorney Hours Covered by the Third Interim Fee Period:                           6,521.20
    Average Hourly Rate for All Attorneys in the Third Interim Fee Period:                         $1,003.95
    Total Paraprofessional Fees Requested in the Third Interim Fee Period:                       $126,046.00
    Total Actual Paraprofessional Hours Covered by Third Interim Fee Period:                        300.10
    Average Hourly Rate for Paraprofessionals in the Third Interim Fee Period:                      $420.01
    Reimbursable Expenses Sought in the Third Interim Fee Period:                                $130,036.23




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are NPC International, Inc. (7298); NPC Restaurant Holdings I LLC (0595); NPC Restaurant Holdings II
    LLC (0595); NPC Holdings, Inc. (6451); NPC International Holdings, LLC (8234); NPC Restaurant Holdings, LLC
    (9045); NPC Operating Company B, Inc. (6498); and NPC Quality Burgers, Inc. (6457). The Debtors’ corporate
    headquarters and service address is 4200 W. 115th Street Suite 200 Leawood, KS 66211.



WEIL:\97882448\18\65961.0004
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                                             Final Compensation Period
                                                               Beginning of Period              End of Period
    Time Period Covered by the Final Fee Period:                    July 1, 2020                March 31, 2021
    Time Period(s) Covered by Prior Applications:                   July 1, 2020              September 30, 2020
                                                                  October 1, 2020             December 31, 2020

    Total Fees Awarded in all Prior Applications:                                               $17,542,224.75

    Total Expenses Awarded in all Prior Applications:                                            $111,626.17

    Total Fees and Expenses Awarded in all Prior Applications:                                  $17,653,850.92

    Total Fees Requested in the Final Compensation Period:                                     $24,215,253.252
    Total Attorney Fees Requested in the Final Compensation Period:                             $23,817,098.50
    Total Actual Attorney Hours Covered by the Final Compensation Period:                          24,028.90
    Average Hourly Rate for All Attorneys in the Final Compensation Period:                        $991.19
    Total Paraprofessional and Other Non-Legal Staff Fees Requested in Final
                                                                                                 $434,514.50
    Compensation Period:
    Total Actual Paraprofessional and Other Non-Legal Staff Hours Covered in
                                                                                                   1,127.70
    the Final Compensation Period:
    Average Hourly Rate for Paraprofessionals and Other Non-Legal Staff in Final
                                                                                                   $385.31
    Compensation Period:
    Total Reimbursable Expenses Sought in the Final Compensation Period:                         $241,662.403
    Total to be Paid to Priority Unsecured Creditors:                                     Holders of Allowed Other
                                                                                             Priority Claims shall
                                                                                             receive the treatment
                                                                                          provided for in Section 4.2
                                                                                            of the Plan. Holders of
                                                                                           Priority Tax Claims shall
                                                                                             receive the treatment
                                                                                          provided for in Section 2.3
                                                                                                  of the Plan.
    Anticipated % Dividend to Priority Unsecured Creditors:                                          100%
    Total to be Paid to General Unsecured Creditors:                                          Holders of Allowed
                                                                                            Unsecured Claims shall
                                                                                             receive the treatment


2
    The total fees and expenses approved reflects a reduction in fees and expenses pursuant to the Order Approving the
    Joint Stipulation and Agreed Order between United States Trustee and Weil, Gotshal & Manges LLP Regarding
    Second Interim Fee Application for Allowance of Compensation and Reimbursement of Expenses (Docket
    No. 1630). The total fees were reduced by $36,359.75 and expenses were reduced by $1,167.37. The total of fees
    and expenses awarded $11,297,285.51 reflecting $11,217,084.25 in fees and $80,201.26 in expenses.
3
    The total fees and expenses approved reflects a reduction in fees and expenses pursuant to the Order Approving the
    Joint Stipulation and Agreed Order between United States Trustee and Weil, Gotshal & Manges LLP Regarding
    Second Interim Fee Application for Allowance of Compensation and Reimbursement of Expenses (Docket
    No. 1630). The total fees were reduced by $36,359.75 and expenses were reduced by $1,167.37. The total of fees
    and expenses awarded $11,297,285.51 reflecting $11,217,084.25 in fees and $80,201.26 in expenses.

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                                                                                          provided for in Section 4.8
                                                                                                 of the Plan.
    Anticipated % Dividend to General Unsecured Creditors:                                    Approximately 7%4
    Date of Confirmation Hearing:                                                              January 29, 2021
    Indicate whether plan has been confirmed:                                               The Debtors’ Plan was
                                                                                           confirmed on January 29,
                                                                                           2021. [Docket No. 1528]




4
    Assuming General Unsecured Claims are allowed at approximately $42 million, the anticipated percentage dividend
    to general unsecured creditors is estimated at approximately 7% in a Sale Transaction; for the avoidance of doubt,
    the anticipated percentage dividend is subject to the final amount of Allowed General Unsecured Claims. See Notice
    of Filing of Revised Exhibits to Disclosure Statement for First Amended Joint Chapter 11 Plan of NPC
    International, Inc. and its Affiliated Debtors, Exhibit C (Docket No. 1458).

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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                                              §
In re                                                         §        Chapter 11
                                                              §
NPC INTERNATIONAL, INC.,                                      §        Case No. 20–33353 (DRJ)
et al.,                                                       §
                    Debtors.1                                 §        (Jointly Administered)
                                                              §

                THIRD INTERIM AND FINAL FEE APPLICATION OF
           WEIL, GOTSHAL & MANGES LLP, ATTORNEYS FOR DEBTORS,
         FOR INTERIM AND FINAL ALLOWANCE OF COMPENSATION FOR
      PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF ACTUAL
    AND NECESSARY EXPENSES INCURRED FROM (I) THIRD INTERIM PERIOD OF
     JANUARY 1, 2021 THROUGH MARCH 31, 2021 AND (II) FINAL COMPENSATION
        PERIOD OF JULY 1, 2020 THROUGH AND INCLUDING MARCH 31, 2021

    IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN WRITING,
    SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS PLEADING. UNLESS OTHERWISE
    DIRECTED BY THE COURT, YOU MUST FILE YOUR RESPONSE WITH THE CLERK OF THE
    BANKRUPTCY COURT WITHIN 21 DAYS FROM THE DATE YOU WERE SERVED WITH THIS
    APPLICATION. YOU MUST SERVE A COPY OF YOUR RESPONSE ON THE PERSON WHO SENT
    YOU THE NOTICE; OTHERWISE, THE COURT MAY TREAT THE APPLICATION AS
    UNOPPOSED AND GRANT THE RELIEF REQUESTED.


                   Weil, Gotshal & Manges LLP (“Weil”), counsel to NPC International, Inc.

(“NPC”) and its debtor affiliates, as debtors and debtors in possession (the “Debtors”) hereby files

its third and final application (the “Application”) for (i) interim allowance of compensation for

professional services performed by Weil during the period commencing January 1, 2021 through

and including March 31, 2021 (the “Third Interim Period”) in the amount of $6,673,028.50, and

for reimbursement of its actual and necessary expenses in the amount of $130,036.23 incurred and



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are NPC International, Inc. (7298); NPC Restaurant Holdings I LLC (0595); NPC Restaurant Holdings II
    LLC (0595); NPC Holdings, Inc. (6451); NPC International Holdings, LLC (8234); NPC Restaurant Holdings, LLC
    (9045); NPC Operating Company B, Inc. (6498); and NPC Quality Burgers, Inc. (6457). The Debtors’ corporate
    headquarters and service address is 4200 W. 115th Street Suite 200 Leawood, KS 66211.
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(ii) final allowance of compensation for professional services performed by Weil during the period

commencing July 1, 2020 through and including March 31, 2021 (the “Final Compensation

Period” and, together with the Third Interim Period the “Compensation Periods”) in the amount

of $24,215,253.25 and reimbursement for its actual and necessary expenses incurred during the

Final Compensation Period in the amount of $241,662.40 and respectfully represents as follows:

                                    Preliminary Statement

               1.     During the Third Interim Period, Weil’s professionals helped guide the

Debtors through the final stages of the chapter 11 process, focusing on obtaining approval of and

consummating the Sale Transaction as well as the Plan. Weil’s efforts included, among other

things, (i) obtaining approval of the Sale Transaction on January 25, 2021 (Docket Nos. 1474-75)

(the “Sale Orders”), (ii) drafting, negotiating, and filing the Second Amended Joint Chapter 11

Plan of NPC International, Inc. and Its Affiliated Debtors (Docket No. 1477) (the “Plan”) and

various supplements thereto, (iii) negotiating consensual resolutions to formal and informal

objections to the Plan and supplements thereto, obtaining approval of the Plan on January 29, 2021

(Docket No. 1528) (the “Confirmation Order”), and (iv) successfully completing all conditions

to effectiveness of the Plan on March 31, 2021. During the Compensation Period prior to the Third

Interim Period, Weil’s professionals provided the Debtors guidance with respect to, among other

things, (i) addressing adversary proceedings and numerous motions to lift the automatic stay,

(ii) amending the RSA to include the Second Lien Lenders and memorializing the settlement with

the Second Lien Lenders (Docket No. 920), (iii) negotiating, preparing and filing the First

Amended Joint Chapter 11 Plan of NPC International, Inc. and Its Affiliated Debtors (Docket

No. 951) and the Disclosure Statement for First Amended Joint Chapter 11 Plan of NPC

International, Inc. and Its Affiliated Debtors (Docket No. 946) and Exhibits to Disclosure

Statement (the “Disclosure Statement”), obtaining Court approval of the Disclosure Statement

(Docket No. 947), and commencing the solicitation of votes to accept or reject the Plan,

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(iv) conducting a marketing of and sales process for the business, leading to entry of an asset

purchase agreement with Wend American Group LLC and Hut American Group LLC, led by

Flynn Restaurant Group LP, as the stalking horse bidder and obtaining Court approval of the

Debtors’ selection of a stalking horse bidder (Docket No. 1051), (v) negotiating a settlement with

the Creditors’ Committee with respect to treatment of general unsecured creditors under the Plan

and Motion of the Official Committee of Unsecured Creditors for an Order Granting Leave,

Standing and Authority to Commence, Prosecute and Settle Claims on behalf of the Debtors’

Estates (Docket No. 928), (vi) successfully completing sale mediation with parties in interest,

whereby the principal stakeholders agreed to a modified sale transaction under which the stalking

horse bidder will acquire substantially all of the Debtors’ Pizza Hut assets and approximately half

of the Debtors’ Wendy’s restaurants with the remaining Wendy’s restaurants to be acquired by

certain qualified Wendy’s franchisees backstopped by Wendy’s (the “Sale Transaction”) and

working towards obtaining the Court approval thereof, (vii) participating in and working towards

the successful mediation and negotiation of a global settlement of claims with delivery drivers

alleging under-reimbursement (the “Driver Claimants”), and (viii) negotiating and obtaining

court approval of a settlement resolving the adversary proceeding between the Debtors and

McLane Foodservice, Inc. (Docket No. 1341).

               2.     The professional services performed and expenses incurred by Weil during

the Compensation Period were actual and necessary to preserve and protect the value of the

Debtors’ estates and minimize any negative impact of the restructuring. Given the circumstances

of these chapter 11 cases and the speed and efficiency with which they have been administered

thus far, Weil’s charges for professional services performed and expenses incurred are reasonable

and appropriate under applicable standards. Weil respectfully requests that the Court grant the

Application and allow interim compensation for professional services performed and

reimbursement for expenses incurred.
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                                       Relief Requested

              3.      This Application has been prepared in accordance with sections 330(a) and

331 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy

Rules for the Southern District of Texas (the “Local Rules”), Court Procedures for David R. Jones

United States Bankruptcy Judge (the “Court Procedures”), the U.S. Trustee Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.

§ 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013 (the “UST Fee

Guidelines,” and, collectively, with the Court Procedures, the “Fee Guidelines”), and the Order

(I) Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals and (II) Granting Related Relief (Docket No. 434) (the “Interim Compensation

Order”), the Debtors request approval of Weil’s Application.

              4.      A proposed form of order granting the relief requested herein is attached

hereto as Exhibit A (the “Proposed Order”).

                                          Jurisdiction

              5.      The Court has jurisdiction to consider this Application pursuant to

28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         Background

              6.      On July 1, 2020 (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of the Bankruptcy Code.

              7.      The Debtors continue to operate their businesses and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.




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                   8.       The Debtors’ chapter 11 cases are being jointly administered for procedural

purposes only pursuant to Rule 1015(b) of the Bankruptcy Rules and Rule 1015-1 of the Local

Rules.

                   9.       On July 13, 2020, the United States Trustee for Region 7 (the “U.S.

Trustee”) appointed an official committee of unsecured creditors (the “Creditors’ Committee”).

No trustee or examiner has been appointed in these chapter 11 cases.

                   10.      Additional information regarding the Debtors’ business, capital structure,

and the circumstances leading to the commencement of these chapter 11 cases is set forth in the

Declaration of Eric Koza in Support of Debtors’ Chapter 11 Petitions and First Day Relief, sworn

to on July 1, 2020 (Docket No. 4).2

                                          Debtors’ Retention of Weil

                   11.      On July 14, 2020, the Debtors filed the Application of Debtors for Authority

to Retain and Employ Weil, Gotshal & Manges LLP as Attorneys for Debtors Effective as of

Petition Date (Docket No. 206) (the “Retention Application”).

                   12.      On August 14, 2020, the Court entered an order approving the Retention

Application (Docket No. 435) (the “Retention Order”). The Retention Order authorizes Weil to

provide the following services to the Debtors:

                   a.       take all necessary action to protect and preserve the Debtors’ estates,
                            including the prosecution of actions on the Debtors’ behalf, the defense of
                            any actions commenced against the Debtors, the resolution of disputes in
                            which the Debtors are involved and the preparation of objections to claims
                            filed against the Debtors’ estates;

                   b.       prepare on behalf of the Debtors, as debtors in possession, all necessary
                            motions, applications, answers, orders, reports and other papers in
                            connection with the administration of the Debtors’ estates;

                   c.       take all necessary actions in connection with any chapter 11 plan and related
                            disclosure statement and all related documents, including the proposed

2
    Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
    in the First Day Declaration or the Disclosure Statement, as applicable.

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                         purchase of assets from Noble Energy, Inc., and such further actions as may
                         be required in connection with the administration of the Debtors’ estates;
                         and

              d.         perform all other necessary legal services in connection with the
                         prosecution of these chapter 11 cases; provided, however, that to the extent
                         Weil determines that such services fall outside the scope of services
                         historically or generally performed by Weil as lead debtors’ counsel in a
                         bankruptcy case, Weil will file a supplemental declaration.

(Retention Order ¶ 2).

                            Summary of Professional Compensation
                           and Reimbursement of Expenses Requested

              13.        Weil seeks interim allowance of compensation for professional services

performed during (i) the Third Interim Period in the amount of $6,673,028.50 and for

reimbursement of expenses incurred in connection with the rendition of such services in the

amount of $130,036.23 and (ii) the Final Compensation Period in the amount of $24,215,253.25

and for reimbursement of expenses incurred in connection with the rendition of such services in

the amount of $241,662.40. During the Third Interim Period, Weil attorneys and paraprofessionals

expended a total of 6,821.30 hours in connection with the necessary services performed. During

the Final Compensation Period, Weil attorneys, paraprofessionals, and other non-legal staff

expended a total of 25,156.60 hours in connection with the necessary services performed.

              14.        There is no agreement or understanding between Weil and any other person,

other than members of the firm, for the sharing of compensation to be received for services

rendered in these chapter 11 cases. During the Compensation Period, Weil received no payment

or promises of payment from any source for services rendered, or to be rendered, in any capacity

whatsoever in connection with the matters covered by this Application, other than the Debtors in

accordance with the Interim Compensation Order, the Order Approving First Fee Application of

Weil, Gotshal & Manges LLP, as Attorneys for Debtors, for Interim Allowance of Compensation

for Professional Services Rendered and Reimbursement of Actual and Necessary Expenses


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Incurred from July 1, 2020 through and Including September 30, 2020 (Docket No. 1228)

(the “First Interim Fee Order”), and the so-ordered Joint Stipulation and Agreed Order between

United States Trustee and Weil, Gotshal & Manges LLP Regarding Second Interim Fee

Application for Allowance of Compensation and Reimbursement of Expenses (Docket No. 1630)

(the “Second Interim Fee Stipulation Order”), pursuant to which Weil agreed to certain

reductions to its fees.

                15.       Prior to the Petition Date, the Debtors paid fee advances to Weil for

professional services to be performed and expenses to be incurred in connection with its

representation of the Debtors and in preparation of the Debtors seeking relief under chapter 11

(the “Fee Advance”). Based on a reconciliation of all charges and expenses through the date of

this Application, the balance of the Fee Advance is $372,056.88.

                16.       The fees charged by Weil in these cases are billed in accordance with Weil’s

existing billing rates and procedures in effect during the Compensation Period. The rates Weil

charges for the services rendered by its professionals and paraprofessionals in these chapter 11

cases are no greater than the rates Weil charges for professional and paraprofessional services

rendered in comparable bankruptcy and non-bankruptcy related matters. Such fees are reasonable

based on the customary compensation charged by comparably skilled practitioners in comparable

bankruptcy and non-bankruptcy matters in a competitive national legal market.

                                        Supporting Documents

                17.       Attached hereto as Exhibit B is the Certification of Kevin Bostel

(the “Bostel Certification”) regarding Weil’s compliance with the Fee Guidelines.

                18.       Attached hereto as Exhibit C is a schedule of all Weil attorneys and

paraprofessionals who have performed services for the Debtors during the Compensation Periods,

the capacities in which each individual is employed by Weil, the department in which each

individual practices, the hourly billing rate charged by Weil for services performed by such

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individuals, the year in which each attorney was first licensed to practice law, where applicable,

and the aggregate number of hours expended in this matter and fees billed in connection therewith

(the “Schedule of Professional Fees”).

               19.     Weil maintains computerized records of the time spent by all Weil attorneys

and paraprofessionals in connection with the prosecution of these chapter 11 cases. Attached

hereto as Exhibit D is a schedule of Weil’s computerized time records billed during the

Compensation Periods using project categories hereinafter described in the format specified by the

Fee Guidelines (the “Time Records”).

               20.     Attached hereto as Exhibit E is an itemized schedule of the expenses for

which Weil is seeking reimbursement and a summary specifying the categories of expenses

included in the schedule and the total amount for each such expense category (the “Expenses”).

               21.     Attached hereto as Exhibit F is a summary and comparison of the aggregate

blended hourly rates billed by Weil’s New York and Texas timekeepers to non-bankruptcy matters

during the prior twelve-month period ending March 31, 2021, and the blended hourly rates billed

to the Debtors during the Compensation Period (the “Blended Rate Comparison Chart”).

               22.     Attached hereto as Exhibit G is a budget prepared in connection with

Weil’s representation of the Debtors during the Compensation Period (the “Budget”).

               23.     Attached hereto as Exhibit H is a summary of Weil’s staffing plan for the

Compensation Period (the “Staffing Plan”).

               24.     To the extent that time or disbursement charges for services rendered or

disbursements incurred relate to the Compensation Period, but were not processed prior to the

preparation of this Application, Weil reserves the right to request additional compensation for such

services and reimbursement of such expenses in a future application to the Court.




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                               Summary of Services Performed by
                                Weil during Third Interim Period

               25.       During the Third Interim Period, Weil devoted substantial resources and

rendered significant professional services to ensure that the Debtors would be able to operate their

business without interruption, enter into asset purchase agreements, negotiate, file, and prosecute

the Plan, obtain the Court’s approval of the Sale Transaction, and the Plan, and successfully

complete all conditions to effectiveness of the Plan. The following is a summary of the significant

professional services among others rendered by Weil during the Third Interim Period, organized

in accordance with Weil’s internal time-tracking system, and broken down by project or task

codes:

         a.    Asset Disposition/363 Sales (Task Code 003)
               Fees: $2,704,690.00; Total Hours: 2,549.40

                           Negotiated and revised asset purchase agreements and related
                            documents and corresponded with the Debtors, the Debtors’ advisors,
                            and sale participants and their advisors, regarding various issues related
                            to asset purchase agreements.

                           Communicated internally amongst Weil practice groups and the
                            Debtors’ advisors regarding issues related to the asset purchase
                            agreements including, among other things, tax and employment
                            considerations.

                           Drafted, reviewed, and filed the Declaration of Neil A. Augustine in
                            Support of the Sale of Substantially All of the Debtors’ Assets Free and
                            Clear of Liens, Claims, Encumbrances, and Interests and Granting
                            Related Relief (Docket No. 1441).

                           Drafted, negotiated, and filed the Notice of Filing Proposed Orders (A)
                            Authorizing the Sale of Substantially all of the Debtors’ Assets Free and
                            Clear of Liens, Claims, Encumbrances, and Other Interests, (B)
                            Authorizing and Approving Purchase Agreements for Such Sales, (C)
                            Approving the Assumption and Assignment of Certain Executory
                            Contracts and Unexpired Leases Related Thereto, and (D) Granting
                            Related Relief (Docket No. 1383) (the “Proposed Sale Orders”) and
                            obtained the Court’s approval thereof (Docket Nos. 1474-1475).

                           Drafted, revised, and filed the Notice of Final Desired 365 Contracts
                            Designated for Assumption and Assignment in Connection with the
                            Wendy’s Sale Transaction (Docket No. 1597) and the Notice of Final

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                 Desired 365 Contracts Designated for Assumption and Assignment in
                 Connection with the (Flynn) Stalking Horse Sale Transaction (Docket
                 No. 1598).

                Communicated internally and participated on conference calls amongst
                 Weil practice groups and the Debtors’ advisors, and prepared the
                 transition services agreement.

                Conducted research regarding various issues related to the Sale
                 Transaction closing.

 b.    Bar Date/Claims Reconciliation Issues (Task Code 005)
       Fees: $341,480.00; Total Hours: 344.70

                Discussed strategy with the Debtors, the Debtors’ advisors, and Weil’s
                 litigation team in connection with the settlement with the Driver Class
                 Claimants (the “Driver Claimants Settlement”).

                Reviewed and revised the Plan in connection with the Driver Claimants
                 Settlement, and drafted, negotiated, and finalized related settlement
                 notices and forms.

                Conducted research on various considerations with regards to
                 implementing the Driver Claimants Settlement.

 c.    Case Administration (Case Calendar and WIP) (Task Code 006)
       Fees: $32,869.50; Total Hours: 51.10

                Prepared and continually updated case calendars and comprehensive
                 work-in-process list for the Debtors’, the Debtors’ advisors, and internal
                 use.

                Responded to a large volume of emails, calls, and correspondence
                 related to the Chapter 11 Cases, including with respect to the work
                 streams, issues, and matters described in this Application.

 d.    Chapter 11 Plan/Confirmation (Task Code 009)
       Fees: $1,163,558.50; Total Hours: 1,250.20

                Prepared for, and participated on, numerous telephone conferences with
                 the Debtors, management, professionals, and parties in interest
                 regarding the Plan and confirmation issues.

                Drafted, negotiated, and filed the Plan and various pleadings and
                 documents related to the Plan including the supplements to the Plan
                 containing certain documents and forms of documents, schedules, and
                 exhibits relevant to the implementation of the Plan (Docket Nos. 1457,
                 1486, 1502, 1624) (the “Plan Supplements”), the confirmation brief
                 (Docket No. 1487), and numerous declarations in support of
                 confirmation (Docket Nos. 1488, 1491-92).
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                Coordinated with the Debtors, the Debtors’ advisors, and various
                 internal Weil practice groups regarding the information and documents
                 to be included in the Plan Supplements.

                Conducted research regarding various confirmation issues, and prepared
                 for the confirmation hearing, including reviewing and resolving
                 objections received with respect to the Plan and confirmation.

                Drafted and negotiated the terms of the Confirmation Order and
                 coordinated with the objecting parties, the Debtors, the Debtors’
                 advisors, and various internal Weil practice groups regarding the terms
                 of the Confirmation Order.

                Drafted, reviewed, and finalized various agreements including the
                 liquidating trust agreement, the GUC trust agreement, the wind down
                 budget, and the corporate documents in preparation for consummation
                 of the Plan.

                Coordinated with the Debtors, the Debtors’ advisors, the Creditors’
                 Committee and their advisors, the Ad Hoc Priority/1L Group and their
                 advisors, to prepare for consummation of the Plan, including
                 finalization of the final funds flow, funding the professional fee escrow,
                 and making significant initial distributions on the effective date.

                Drafted, reviewed, and filed the Notice of (I) Entry of Order Confirming
                 Joint Chapter 11 Plan of NPC International Inc. and Its Affiliated
                 Debtors, (II) Occurrence of Effective Date, (III) Administrative
                 Expense Claim Bar Date, and (IV) Driver Claimant Admin Bar Date
                 (Docket No. 1643) and the related publication notice.

 e.    Client Communication (Task Code 010)
       Fees: $126,809.00; Total Hours: 117.60

                Prepared for and participated in weekly meetings and on
                 teleconferences with the Debtors’ management team and the Debtors’
                 advisors to discuss case strategy, coordination, Court filings and
                 hearings, transaction negotiations, the Plan, confirmation, and
                 numerous other case issues and pending matters.

 f.    Corporate Governance/Securities (Task Code 011)
       Fees: $195,496.50; Total Hours: 206.30

                Prepared for and participated in regular telephonic meetings with the
                 special committee and the board.

                Prepared materials for the special committee, the board, and the
                 Debtors’ senior management regarding the chapter 11 cases.




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                Drafted and reviewed minutes from the special committee and board
                 meetings.

                Drafted, reviewed, and revised documents related to corporate
                 governance, including amendments to corporate organizational
                 documents.

 g.    Employee Issues (Task Code 014)
       Fees: $139,352.00; Total Hours: 129.60

                Evaluated and conducted research regarding various labor and
                 employment issues.

                Communicated internally amongst Weil practice groups and with the
                 Debtors and Debtors’ advisors regarding various labor and employment
                 issues including employment agreements, policies, and compensation
                 and benefits plans, as applicable.

 h.    Executory Contracts/Leases/Real Property/Section 365 Issues (Task Code 016)
       Fees: $651,567.00; Total Hours: 729.20

                Reviewed a significant volume of cure objections filed and
                 corresponded with contract counterparties regarding cure objections and
                 potential settlements and other inquiries related to Debtors’ contracts
                 and leases.

                Advised Debtors regarding the Bankruptcy Code’s effects on leases and
                 potential negotiations regarding lease amendments.

                Researched various legal issues related to real estate transactions and
                 liabilities.

                Coordinated with the Debtors’ advisors to review, revise, and negotiate
                 lease amendments with landlords.

                Drafted, filed, and obtained Court’s approval of Emergency Second
                 Motion of Debtors for Authority to Extend Time to Assume or Reject
                 Unexpired Leases of Nonresidential Real Property (Docket No. 1461).

                Drafted, and filed, and obtained Court’s approval of several Notice of
                 Rejection of Certain Unexpired Leases of Nonresidential Real Property
                 and Abandonment of Property in Connection therewith (Docket Nos.
                 1508, 1509, 1519, 1521, 1522).

 i.    General Case Strategy (Including Team Calls) (Task Code 017)
       Fees: $224,921.50; Total Hours: 218.50

                Conducted numerous internal team meetings, conferences, and
                 teleconferences regarding the status and administration of the Debtors’
                 chapter 11 cases, various business-related issues and general case
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                 strategy, and various work streams regarding the matters described in
                 this Application.

                Prepared for and participated on numerous teleconferences with the
                 Debtors’ advisors and key stakeholders of the Debtors’ cases to discuss
                 various issues of the Debtors’ chapter 11 cases.

 j.    Hearings and Court Matters (Task Code 018)
       Fees: $87,334.00; Total Hours: 108.00

                Prepared for and represented the Debtors at hearings and status
                 conferences relating to, among other things, the Sale Transaction and
                 confirmation of the Plan.

                Conducted witness preparation for hearings and drafted declarations and
                 documents in support thereof for various motions and matters.

                Prepared, filed on the docket of these chapter 11 cases, and arranged
                 service of various motions, notices and documents, including agendas,
                 witness and exhibit lists, proposed orders, and certificates of no
                 objection to avoid the expense of hearings on uncontested matters.

 k.    Pizza Hut Franchisor Issues (Task Code 022)
       Fees: $135,559.50; Total Hours: 131.10

                Communicated with the Pizza Hut Franchisor and its advisors regarding
                 issues regarding the franchise agreements.

                Reviewed and conducted research regarding a cure objection filed by
                 the Pizza Hut Franchisor and conferred with the Pizza Hut Franchisor
                 and its advisors and other relevant parties in interest regarding the cure
                 objection.

                Negotiated, drafted, and finalized the cure settlement with the Pizza Hut
                 Franchisor.

 l.    Retention/Fee Applications: Other Professionals (Task Code 025)
       Fees: $101,410.00; Total Hours: 120.60

                Corresponded with Debtors and other professionals regarding retention
                 issues and compensation procedures.

                Reviewed and noticed monthly fee statements submitted by the
                 Debtors’ professionals.

                Reviewed, filed, and obtained Court approval of the Debtors’
                 professionals’ interim fee applications (Docket Nos. 1554-58).




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 m.    Retention/Fee Applications: Weil (Task Code 026)
       Fees: $95,284.50; Total Hours: 138.60

                Drafted and filed Second Interim Fee Application of Weil, Gotshal &
                 Manges LLP, Attorneys for Debtors, for Interim Allowance of
                 Compensation for Professional Services Rendered and Reimbursement
                 of Actual and Necessary Expenses Incurred from October 1, 2020
                 through and Including December 31, 2020 (Docket No. 1553)
                 (the “Weil Second Interim Fee Application,”).

                Reviewed time records and disbursements for compliance with U.S.
                 Trustee Guidelines.

                Drafted, reviewed, and noticed Weil’s monthly fee statements.

 n.    Tax Issues (Task Code 029)
       Fees: $92,589.00; Total Hours: 67.30

                Conducted research and analysis regarding various potential tax issues
                 and advised the Debtors regarding potential tax implications of the Plan
                 and the Sale Transaction.

                Researched, analyzed, and advised the Debtors on various other tax
                 related issues in connection with the Sale Transaction and the Plan.

 o.    Unsecured Creditors Issues/Meetings (Task Code 030)
       Fees: $311,369.00; Total Hours: 342.50

                Participated on weekly calls with the Creditors’ Committee and the
                 Debtors’ advisors regarding case updates, diligence, and various other
                 aspects of the chapter 11 cases.

                Conducted research, negotiated and coordinated with the Creditors’
                 Committee including providing documents regarding the insurance
                 policies and prepetition personal injury and wrongful death claims, in
                 connection with the development alternative dispute resolution
                 procedures to resolve certain litigation claims and jointly filed with the
                 Creditors’ Committee the Joint Motion of the Official Committee of
                 Unsecured Creditors and the Debtors to Establish Alternative Dispute
                 Resolution Procedures for Resolution of Litigation Claims and
                 Granting Related Relief (Docket No. 1577).

 p.    Wendy’s Franchisor Issues (Task Code 033)
       Fees: $40,301.00; Total Hours: 47.10

                Corresponded and conferenced with the Debtors, the Debtors’ advisors,
                 Wendy’s Franchisor, and Wendy’s Franchisor’s advisors regarding
                 various issues related to the settlement with the Wendy’s Franchisor in
                 connection with the Sale Transaction.

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               26.     In addition to the foregoing, Weil prepared, on behalf of the Debtors, all

necessary motions, applications, orders, responses, and other papers in support of positions taken

by the Debtors.

               27.     The foregoing professional services were necessary and appropriate to the

administration of the Debtors’ chapter 11 cases. The professional services performed by Weil

were in the best interests of the Debtors and their stakeholders. Compensation for such services is

commensurate with the complexity, importance, and nature of the issues and tasks that were

involved in these cases. All of Weil’s professional services were performed skillfully and

efficiently.

               28.     The professional services performed by Weil’s partners, counsel,

associates, and paraprofessionals were rendered by the Restructuring, Corporate, Litigation, and

Tax, Benefits & Executive Compensation Departments predominantly in the New York, Houston,

and Dallas offices. Weil has a preeminent Restructuring practice and enjoys a national reputation

for its expertise in financial reorganizations and restructurings of distressed entities.

               29.     The professional services performed by Weil on behalf of the Debtors

during the Third Interim Period required an aggregate expenditure of 6,821.30 hours by Weil’s

partners, counsel, associates, paraprofessionals, and other non-legal staff. Of the aggregate time

expended, 2,510.50 recorded hours were expended by partners and counsel of Weil, 4,010.70

recorded hours were expended by associates, and 300.10 recorded hours were expended by

paraprofessionals and other non-legal staff of Weil. Of the 61 Weil attorneys who billed time, 19

billed fewer than 15 hours to this matter. Of the 8 Weil paraprofessionals and non-legal staff who

billed time, 6 billed fewer than 15 hours to this matter.

               30.     During the Third Interim Period, Weil billed the Debtors for time expended

by attorneys based on hourly rates ranging from $630.00 to $1,795.00 per hour for attorneys.

Allowance of compensation in the amount requested would result in a blended hourly billing rate
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for Weil attorneys in this Application of approximately $1,003.95 (based on 6,521.20 recorded

hours for attorneys at Weil’s billing rates in effect at the time of the performance of services).

                              Summary of Services Performed by
                             Weil During Final Compensation Period

               31.       During the course of the Final Compensation Period and as set forth in more

detail above and in the First Interim Fee Application of Weil, Gotshal & Manges LLP, Attorneys

for Debtors, for Interim Allowance of Compensation for Professional Services Rendered and

Reimbursement of Actual and Necessary Expenses Incurred from July 1, 2020 Through and

Including September 30, 2020 (Docket No. 1058) (the “Weil First Interim Fee Application”),

and the Weil Second Interim Fee Application, Weil provided extensive services to the Debtors

necessary to the administration and success of these chapter 11 cases. Some of the most significant

services provided by Weil include the following:

       a.      Adversary Proceedings (Task Code 002)
               Fees: $452,339.50; Total Hours: 465.70

                           Researched, drafted, and filed adversary complaint. See NPC
                            International, Inc. v. McLane Company, Inc., Adversary Proc. No. 20-
                            03353 (DRJ) (Bankr. S.D.T.X Aug. 3, 2020) (Docket No. 1)
                            (the “McLane Adversary Proceeding”) seeking to compel
                            performance under the prepetition service agreements between the
                            Debtors and McLane Company, Inc., and researched and analyzed
                            various legal and factual issues related to the McLane Adversary
                            Proceeding.

                           Researched, drafted, and filed Debtors’ Opposition to McLane
                            Foodservice, Inc.’s Motion to (I) Dismiss Debtors’ Amended Complaint
                            for Violations of the Automatic Stay, to Compel Performance of
                            Executory Contracts, and Declaratory Judgment, and (II) Grant
                            Related Relief. See NPC McLane Adversary Proceeding (Docket
                            No. 47).

                           Communicated and conferred with opposing counsel in each adversary
                            proceeding.

                           Communicated with the Debtors to coordinate case strategy, draft
                            various pleadings, and prepared for conferences with opposing counsel
                            and the Court regarding the McLane Adversary Proceeding.


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 b.    Asset Disposition/363 Sales (Task Code 003)
       Fees: $7,793,016.00; Total Hours: 7,565.40

                Negotiated non-disclosure agreements with sale participants and their
                 advisors.

                Drafted, filed, and obtained Court approval of the Motion of Debtors for
                 Entry of Orders (I)(A) Approving Bid Procedures for Sale of Debtors’
                 Assets, (B) Scheduling Auction for and Hearing to Approve Sale of
                 Debtors’ Assets, (C) Approving Form and Manner of Notice of Sale,
                 Auction, and Sale Hearing, (D) Approving Assumption and Assignment
                 Procedures, and (E) Granting Related Relief, and (II)(A) Approving
                 Sale of Debtors’ Assets, (B) Authorizing Assumption and Assignment of
                 Executory Contracts and Unexpired Leases, and (C) Granting Related
                 Relief (Docket No. 510) to approve bidding procedures and framework
                 for Debtors’ sale processes.

                Drafted form asset purchase agreement.

                Communicated with the Debtors to coordinate strategy and information
                 flow for sale processes.

                Reviewed bid materials submitted by potential bidders for the Debtors’
                 assets in connection with sale process.

                Negotiated sale documents with sale participants and their advisors.

                Drafted, filed, and obtained Court approval of Debtors’ Emergency
                 Motion for Entry of an Order (I) Approving the Debtors’ Selection of a
                 Stalking Horse Bidder, (II) Approving Bid Protections in Connection
                 Therewith, and (III) Granting Related Relief (Docket No. 994).

                Drafted, reviewed, and amended asset purchase agreements and
                 corresponded with the Debtors and the Debtors’ advisors regarding
                 various issues related to asset purchase agreements.

                Communicated internally amongst Weil practice groups and the
                 Debtors’ advisors regarding sale process related issues including tax
                 considerations, due diligence requests, bid process, and franchise
                 consent issues.

                Drafted, reviewed and filed numerous notices of cure amounts (Docket
                 Nos. 781, 949, 1286) and corresponded with counsel to contract
                 counterparties in connection with objections to cure amounts.

                Drafted, negotiated, and filed the Proposed Sale Order.

                Drafted, revised, and filed the Notice of Final Desired 365 Contracts
                 Designated for Assumption and Assignment in Connection with the

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                 Wendy’s Sale Transaction (Docket No. 1597) and the Notice of Final
                 Desired 365 Contracts Designated for Assumption and Assignment in
                 Connection with the (Flynn) Stalking Horse Sale Transaction (Docket
                 No. 1598).

                Communicated internally and participated on conference calls amongst
                 Weil practice groups and the Debtors’ advisors, and prepared various
                 documents regarding various issues related to the sale closing, such as
                 the transition services agreement.

                Conducted Research regarding various issues related to the sale closing.

 c.    Automatic Stay (Task Code 004)
       Fees: $771,528.50; Total Hours: 860.00

                Reviewed and analyzed 12 motions for relief from stay filed during the
                 Compensation Period.

                Drafted and filed objections to various motions for relief from stay.

                Communicated and negotiated with opposing counsel to resolve
                 motions for relief from stay.

                Drafted and filed Debtors’ Reply in Support of Debtors’ Motion
                 Pursuant to Sections 105(a), 362, and 365 of the Bankruptcy Code to
                 Enforce the Automatic Stay and Compel Performance of McLane’s
                 Obligations under an Executory Contract (Docket No. 786).

 d.    Bar Date/Claims Reconciliation Issues (Task Code 005)
       Fees: $3,260,203.00; Total Hours: 3,572.40

                Drafted, filed, and obtained Court approval of Emergency Motion of
                 Debtors for Order (I) Establishing Deadline to File Proofs of Claim and
                 (II) Approving Form and Manner of Notice Thereof (Docket No. 401)
                 to set certain bar dates and procedures for asserting prepetition claims
                 against the Debtors.

                Reviewed, analyzed, conducted research on, and corresponded with
                 counsel regarding the issues in connection with the Driver Claimants.

                Drafted, reviewed, and filed Debtors’ Opposition to Motion of the
                 Driver Class Claimants for Leave to File Class Proofs of Claims
                 (Docket No. 770) (the “7023 Motion”).

                Reviewed, analyzed, and researched issues relating to the Driver
                 Claimants’ claims including the treatment of the Driver Claimants’
                 claims and Fair Labor Standards Act.

                Drafted, reviewed, and filed Debtors’ (I) Emergency Motion to
                 Establish Scheduling and Estimation Protocol and (II) Motion to
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                 Estimate the Driver Claimants’            Claims     (Docket    No. 912)
                 (the “Estimation Motion”).

                Discussed case strategy with the Debtors, the Debtors’ advisors, and
                 Weil’s litigation team and prepared for Court filings, hearings,
                 negotiations, depositions, and numerous other issues in connection with
                 the Driver Claimants’ claims and the Estimation Motion.

                Corresponded with and engaged in extensive discovery process with
                 opposing counsel regarding the Driver Claimants’ claims and the
                 Estimation Motion. See Order (I) Scheduling Certain Hearing Dates
                 and (II) Establishing Certain Protocols in Connection with the
                 Estimation of the Driver Claimants’ Claims (Docket No. 1015) as later
                 amended by Docket Nos. 1248 and 1336.

                Prepared for and participated in mediation over several weeks to
                 ultimately resolve all issues related to the Driver Claimants’ claims, the
                 7023 Motion, and the Estimation Motion.

                Discussed strategy with the Debtors, the Debtors’ advisors, and Weil’s
                 litigation team in connection with the Driver Claimants Settlement.

                Reviewed and revised the Plan in connection with the Driver Claimants
                 Settlement, and drafted, negotiated, and finalized related settlement
                 notices and forms.

                Conducted research on various considerations with regards to
                 implementing the Driver Claimants Settlement including
                 reimbursement, class claim certification, and insurance claim issues.

 e.    Case Administration (Case Calendar and WIP) (Task Code 006)
       Fees: $152,650.00; Total Hours: 243.30

                Prepared and continually updated case calendars and comprehensive
                 work-in-process list for the Debtors’, the Debtors’ other professionals’,
                 and internal use.

                Responded to a large volume of emails, calls, and correspondence
                 related to the chapter 11 cases, including with respect to the work
                 streams, issues, and matters described in this Application.

 f.    Cash Collateral/Adequate Protection (Task Code 007)
       Fees: $230,817.50; Total Hours: 243.30

                Drafted, filed and obtained interim and final Court approval of
                 Emergency Motion of Debtors for Interim and Final Orders
                 (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting
                 Adequate Protection to Prepetition Secured Parties, (III) Modifying the
                 Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting

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                 Related Relief (Docket No. 7) (the “Cash Collateral Motion”) to
                 provide the Debtors with sufficient working capital and access to cash
                 to fund their operations during the chapter 11 cases.

                Negotiated with the Creditors’ Committee and certain other
                 stakeholders to resolve certain informal objections to the Cash
                 Collateral Motion.

                Drafted and filed the Debtors’ Reply to Objection of McLane to
                 Emergency Motion of Debtors for Interim and Final Orders
                 (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting
                 Adequate Protection to Prepetition Secured Parties, (III) Modifying the
                 Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
                 Related Relief (Docket No. 362).

                Communicated internally amongst the various Weil practice groups and
                 the Debtors’ other advisors regarding Cash Collateral related issues.

                Conducted research regarding certain Cash Collateral related issues.

 g.    Chapter 11 Plan/Confirmation (Task Code 009)
       Fees: $2,086,175.50; Total Hours: 2,206.30

                Drafted, negotiated, and filed various versions of the Plan.

                Coordinated with the Debtors, the Debtors’ other advisors, and various
                 internal Weil practice groups regarding the Plan.

                Prepared for, and participated on, numerous telephone conferences with
                 the Debtors, management, the Ad Hoc Priority/1L Group, and additional
                 professionals related to the Plan, the amended Restructuring Support
                 Agreement, and the Backstop Commitment Agreement.

                Conducted research regarding various potential chapter 11 issues in
                 connection with the Plan, including issues relating to various aspects of
                 the Plan and confirmation of the Plan.

                Drafted and filed Motion of Debtors for Order (I) Approving the Rights
                 Offerings Procedures and Related Forms, (II) Authorizing the Debtors
                 to Conduct the Rights Offerings in Connection With the Debtor’s Plan
                 of Reorganization, (III) Authorizing Entry Into Backstop Agreement,
                 (IV) Approving Obligations Thereunder, and (V) Granting Related
                 Relief (Docket No. 707) seeking court approval of the rights offering
                 procedures contemplated in a Reorganization Transaction as well as
                 approval of entry into a backstop commitment agreement for the Rights
                 Offering.




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              Drafted and filed Notice of Cure Amounts with Respect to Executory
               Contracts and Unexpired Leases of Debtors in Connection with the Plan
               (Docket No. 1286).

              Drafted, negotiated, and filed various pleadings and documents related
               to the Plan and confirmation of the Plan including the Plan Supplements.

              Coordinated with the Debtors, the Debtors’ advisors, and various
               internal Weil practice groups regarding the Plan and wind down
               considerations including the creation of the wind down budget.

              Drafted the Plan and conducted research regarding various potential
               chapter 11 issues in connection with the Plan, including issues relating
               to various aspects of the Plan and confirmation of the Plan.

              Drafted and reviewed proposed confirmation order.

              Coordinated with the Debtors, the Debtors’ advisors, and various
               internal Weil practice groups regarding the information and documents
               to be included in the Plan Supplements.

              Drafted, negotiated, and filed the Plan and various pleadings and
               documents related to the Plan including the supplements to the Plan
               containing certain documents and forms of documents, schedules, and
               the Plan Supplements, confirmation brief, and declarations in support of
               confirmation.

              Conducted research regarding various confirmation issues, and prepared
               for the confirmation hearing, including reviewing and resolving
               objections received with respect to the Plan and confirmation.

              Drafted, reviewed, and analyzed various agreements and corporate
               documents in preparation for consummation of the Plan.

              Communicated internally amongst Weil practice groups and with the
               Debtors’ advisors regarding various agreements, including the
               liquidating trust agreement and plan administrator agreement, and
               various wind down issues including the creation of the wind down
               budget and the professional fee escrow.

              Analyzed various considerations in connection with the post-effective
               date status of the Debtors including the post-effective date
               responsibilities of the officers.

              Drafted, reviewed, and filed the Notice of (I) Entry of Order Confirming
               Joint Chapter 11 Plan of NPC International Inc. and Its Affiliated
               Debtors, (II) Occurrence of Effective Date, (III) Administrative
               Expense Claim Bar Date, and (IV) Driver Claimant Admin Bar Date
               (Docket No. 1643).

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 h.    Client Communication (Task Code 010)
       Fees: 368,307.00; Total Hours: 339.80

                Prepared for and participated in weekly teleconferences with the
                 Debtors’ management team and the Debtors’ other advisors to discuss
                 case strategy and coordination, Court filings and hearings, transaction
                 negotiations, the Plan, and numerous other case issues and pending
                 matters.

 i.    Corporate Governance/Securities (Task Code 011)
       Fees: $539,256.50; Total Hours: 555.50

                Advised the Special Committee regarding the Debtors’ chapter 11 cases
                 and various corporate governance issues in connection with the chapter
                 11 cases, and provided updates to the board.

                Prepared materials for and participated in numerous telephonic
                 meetings with the Special Committee and the Debtors’ senior
                 management regarding the chapter 11 cases.

                Drafted minutes, resolutions, and other corporate governance
                 documents.

                Drafted, reviewed, and revised documents related to corporate
                 governance, including amendments to corporate organizational
                 documents.

 j.    Customer/Vendor Issues and Reclamation/503(b)(9) Claims (Task Code 012)
       Fees: $178,132.50; Total Hours: 200.50

                Corresponded with Debtors, Debtors’ professionals regarding vendor
                 issues.

                Researched and prepared the Debtors’ Motion Pursuant to Section
                 105(a), 362, 365 of the Bankruptcy Code to Enforce the Automatic Stay
                 and Compel Performance of McLane’s Obligations under an Executory
                 Contract (Docket No. 348).

                Drafted, negotiated, and finalized a settlement with McLane and
                 Debtors’ Motion for Entry of an Order (I) Authorizing and Approving
                 Settlement Agreement between Debtors and McLane Foodservice, Inc.
                 and (II) Granting Related Relief (Docket No. 1341).

 k.    Disclosure Statement/Solicitation/Voting (Task Code 013)
       Fees: $522,619.50; Total Hours: 605.70

                Prepared ballots and discussed solicitation with Epiq Corporate
                 Restructuring, LLC.



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                Drafted and filed various versions of the Disclosure Statement and the
                 Motion of Debtors for Entry of an Order (I) Approving Proposed
                 Disclosure Statement; (II) Establishing Solicitation and Voting
                 Procedures; (III) Scheduling Confirmation Hearing; (IV) Establishing
                 Notice and Objection Procedures for Confirmation of the Proposed
                 Plan; and (V) Approving Notice and Objection Procedures for the
                 Assumption of Executory Contracts and Unexpired Leases (Docket
                 No. 629).

                Communicated with the Debtors and their other advisors regarding
                 information to be included in the Disclosure Statement and the exhibits
                 thereto.

                Communicated with the Debtors, their other advisors, counsel to the Ad
                 Hoc Priority/1L Group, and certain other stakeholders and parties in
                 interest regarding the Debtors’ Disclosure Statement and timeline.

                Conducted research regarding certain Disclosure Statement related
                 issues.

                Drafted, filed, and obtained Court approval of Disclosure Statement for
                 First Amended Joint Chapter 11 Plan of NPC International, Inc. and Its
                 Affiliated Debtors (Docket No. 946).

 l.    Employee Issues (Task Code 014)
       Fees: $408,614.50; Total Hours: 418.70

                Obtained Court approval of Emergency Motion of Debtors for Order
                 (I) Authorizing Debtors to (A) Pay Prepetition Wages, Salaries,
                 Reimbursable Expenses and Other Obligations on Account of
                 Compensation and Benefits Programs and (B) Continue Compensation
                 and Benefit Programs and (II) Granting Related Relief (Docket No. 12)
                 for authorization to satisfy certain employee-related obligations, and
                 advised the Debtors regarding compliance therewith.

                Communicated with the Debtors and their other advisors regarding the
                 creation of a key employee incentive plan and key employee retention
                 plan.

                Drafted, filed, responded to objections to, and obtained Court approval
                 of Emergency Motion of Debtors for Order (I) Approving (A) the Key
                 Employee Incentive Plan and (B) the Non-Insider Key Employee
                 Retention Plan and (II) Granting Related Relief (Docket No. 548).

                Conducted research and advised the Debtors regarding issues related to
                 deferred compensation, and other employment compensation issues.

                Communicated internally amongst Weil practice groups and with the
                 Debtors and Debtors’ advisors regarding various labor and employment

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                 issues including employment agreements, policies, and compensation
                 and benefits plans as applicable.

 m.    Executory Contracts/Leases/Real Property/Section 365 Issues (Task Code 016)
       Fees: $1,363,536.00; Total Hours: 1,528.80

                Advised the Debtors regarding the Bankruptcy Code’s effects on leases
                 and potential negotiations regarding lease amendments.

                Corresponded with landlords to ensure compliance with terms of the
                 automatic stay and other inquiries related to Debtors’ leases.

                Researched legal issues related to potential real estate transactions and
                 liabilities.

                Coordinated with A&G, Weil Real Estate, and client counsel to review
                 and revise lease amendments.

                Drafted, filed, and obtained Court’s approval of the Motion of Debtors
                 for Entry of an Order (I) Approving Procedures for Rejection of
                 Unexpired Leases of Nonresidential Real Property and Abandonment
                 of Property in Connection Therewith and (II) Granting Related
                 Relief (Docket No. 664) and Motion of Debtors for Authority to Extend
                 Time to Assume or Reject Unexpired Leases of Nonresidential Real
                 Property (Docket No. 780).

                Reviewed a large volume of cure objections filed and corresponded with
                 contract counterparties regarding cure objections and potential
                 settlements and other inquiries related to Debtors’ contracts and leases.

                Drafted, filed, and obtained Court’s approval of Emergency Second
                 Motion of Debtors for Authority to Extend Time to Assume or Reject
                 Unexpired Leases of Nonresidential Real Property (Docket No. 1461).

                Drafted, and filed, and obtained Court’s approval of several Notice of
                 Rejection of Certain Unexpired Leases of Nonresidential Real Property
                 and Abandonment of Property in Connection therewith (Docket Nos.
                 1508, 1509, 1519, 1521, 1522).

 n.    General Case Strategy (Including Team Calls) (Task Code 017)
       Fees: $913,955.50; Total Hours: 904.60

                Conducted numerous internal team meetings, conferences and
                 teleconferences regarding the status and administration of the Debtors’
                 chapter 11 case, various business-related issues and general case
                 strategy, and various work streams regarding the matters described in
                 this Application.




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                Prepared for and participated on numerous teleconferences with the
                 Debtors’ advisors and key stakeholders of the Debtors’ cases to discuss
                 various issues of the Debtors’ chapter 11 cases.

 o.    Hearings and Court Matters (Task Code 018)
       Fees: $588,785.00; Total Hours: 648.10

                Prepared for and represented the Debtors at hearings, including the first-
                 day hearing, second-day hearing, the KEIP hearing, the bidding
                 procedures hearing sale hearing, and confirmation hearing, status
                 conferences, and mediations relating to, among other things, the
                 McLane Adversary Proceeding, sale process, disclosure statement and
                 the Driver Claimants issues.

                Conducted witness preparation for hearings and drafted declarations and
                 documents in support thereof for various motions and matters.

                Reviewed, revised, and finalized proposed orders granting the Debtors’
                 first-day and second-day motions and communicated with the Debtors,
                 their other advisors, the U.S. Trustee, and certain other parties in interest
                 regarding the same.

                Prepared, filed on the docket of these chapter 11 cases, and arranged
                 service of various motions, notices and documents, including agendas,
                 witness and exhibit lists, proposed orders, and certificates of no
                 objection to avoid the expense of hearings on uncontested matters.

 p.    Insurance and Workers Compensation Issues (Task Code 019)
       Fees: $136,120.00; Total Hours: 141.40

                Drafted and obtained Court approval of Emergency Motion of Debtors
                 for Interim and Final Orders (I) Authorizing Debtors to (A) Maintain
                 Their Insurance Policies and Programs and Surety Bond Program and
                 (B) Honor All Obligations with Respect Thereto, (II) Modifying
                 Automatic Stay with Respect to Workers’ Compensation Programs, and
                 (III) Granting Related Relief (Docket No. 125).

                Corresponded with various parties regarding insurance claims.

 q.    Pizza Hut Franchisor Issues (Task Code 022)
       Fees: $508,944.00; Total Hours: 530.20

                Negotiated, drafted, filed and obtained Court approval of the Emergency
                 Joint Motion for Entry of an Order (I) Authorizing and Approving
                 Settlement Agreement Between Debtors and Pizza Hut, LLC and
                 (II) Granting Related Relief (Docket No. 459) (the “Closure Consent
                 Agreement”) which allows for the consensual closure of up to 300
                 Pizza Hut Restaurants.


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                Reviewed, discussed, and responded to inquiries related to issues arising
                 under the Closure Consent Agreement.

                Researched and summarized issues relating to Closure Consent
                 Agreement.

                Reviewed press release and communication materials relating to Pizza
                 Hut Closure Consent Agreement.

 r.    Retention/Fee Applications: Other Professionals (Task Code 025)
       Fees: $362,998.00; Total Hours: 446.00

                Drafted, reviewed, and filed applications and related declarations and
                 other documents in connection with the retention of the Debtors’ other
                 professionals, including AlixPartners, LLP, A&G Realty Partners, LLC,
                 Greenhill & Co., LLC, Ernst & Young LLP, and KPMG LLP.

                Drafted and obtained Court approval of Motion of Debtors for Entry of
                 Order (I) Establishing Procedures for Interim Compensation and
                 Reimbursement of Expenses for Professionals and (II) Granting Related
                 Relief (Docket No. 205).

                Participated on numerous calls with the U.S. Trustee and other advisors
                 regarding retention applications.

                Reviewed, filed and obtained Court approval of the Debtors’
                 professionals’ interim fee applications (Docket Nos. 1059, 1060, 1061,
                 1062) and corresponded with Debtors and other professionals regarding
                 the interim compensation procedures.

 s.    Retention/Fee Applications: Weil (Task Code 026)
       Fees: $237,559.50; Total Hours: 357.00

                Drafted, filed and obtained Court approval of Application of Debtors for
                 Authority to Retain and Employ Weil, Gotshal & Manges LLP as
                 Attorneys for the Debtors Effective as of Petition Date (Docket No. 206)
                 for the retention of Weil as attorneys for the Debtors; supporting
                 affidavit, notice, and proposed order.

                Reviewed time records and disbursements for compliance with U.S.
                 Trustee Guidelines and drafted and reviewed Weil’s monthly fee
                 statements.

                Drafted, filed and, obtained Court approval of the Weil First Interim Fee
                 Application and drafted and filed the Weil Second Interim Fee
                 Application

                Drafted and filed supplemental declaration related to Weil’s retention
                 (Docket No. 1148).

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                Reviewed time records and disbursements for compliance with U.S.
                 Trustee Guidelines.

                Drafted, reviewed, and served Weil’s monthly fee statements.

                Corresponded with the U.S. Trustee regarding the Weil Second Interim
                 Fee Application and negotiated the terms and conditions of the Second
                 Interim Fee Stipulation Order.

 t.    Schedules/SOFAs/2015.3 Report (Task Code 027)
       Fees: $54,726.50; Total Hours: 73.40

                Assisted the Debtors and coordinated with its advisors to prepare and
                 file the Debtors’ schedules of assets and liabilities and statements of
                 financial affairs.

 u.    Secured Creditor Issues/Meetings/Communications (Task Code 028)
       Fees: $128,331.00; Total Hours: 125.80

                Attended regular meetings and calls with the Ad Hoc Priority/1L Group
                 and their advisors and the Debtors’ other advisors regarding case
                 strategy, diligence, and various other aspects of the chapter 11 cases.

 v.    Tax Issues (Task Code 029)
       Fees: $703,724.50; Total Hours: 499.80

                Conducted research and analysis regarding various potential tax issues
                 and advised the Debtors regarding potential tax implications of the Plan.

                Drafted tax-related sections of the Plan and the Disclosure Statement.

                Drafted, filed, and obtained the Court’s approval of the Emergency
                 Motion of Debtors for Interim and Final Orders Establishing
                 Notification Procedures and Approving Restrictions on (A) Certain
                 Transfers of Interests in the Debtors and (B) Claims of Certain
                 Worthless Stock Deductions (Docket No. 11).

                Conducted research on and analyzed the tax implications of potential
                 stock sales and preservation of tax attributes.

                Researched, analyzed, and advised the Debtors on various other tax-
                 related issues, including the treatment of tax obligations in chapter 11
                 cases and the sale process under the Plan.

                Conducted research and analysis regarding various potential tax issues
                 and advised the Debtors regarding potential tax implications of the Plan
                 and the Sale Transaction.




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 w.    Unsecured Creditors Issues/Meetings (Task Code 030)
       Fees: $1,658,333.50; Total Hours: 1,706.90

                Attended regular meetings and calls with the Creditors’ Committee and
                 the Debtors’ other advisors regarding case strategy, diligence, and
                 various other aspects of the chapter 11 cases.

                Communicated with counsel to Creditors’ Committee in connection
                 with the Creditors’ Committee’s diligence and discovery requests,
                 produced documents.

                Conducted extensive document review and document production in
                 response to the Creditors’ Committee diligence and discovery requests.

                Communicated with counsel to Creditors’ Committee and Debtors’
                 advisors in connection with the Standing Motion.

                Communicated with counsel to Creditors’ Committee and conducted
                 extensive document review and document production in connection
                 with the Creditors’ Committee’s Standing Motion diligence and
                 discovery requests.

                Drafted, reviewed, and filed various pleadings in response to the
                 Standing Motion including an opposition to the Standing Motion
                 (Docket No. 1292) and declarations in support of the opposition
                 (Docket Nos. 1294, 1296).

                Negotiated with the Debtors’ advisors, the Creditors’ Committee, and
                 the Ad Hoc Priority/1L Group regarding the settlement of the Standing
                 Motion.

                Conducted research and negotiated with the Creditors’ Committee
                 regarding the alternative dispute resolution procedures to resolve certain
                 litigation claims, and reviewed and jointly filed the Joint Motion of the
                 Official Committee of Unsecured Creditors and the Debtors to Establish
                 Alternative Dispute Resolution Procedures for Resolution of Litigation
                 Claims and Granting Related Relief (Docket No. 1577).

 x.    Utility Adequate Assurance (Task Code 032)
       Fees: $73,769.00; Total Hours: 93.80

                Reviewed, negotiated, and resolved additional assurance requests from
                 various Utility Providers and responded to inquiries from Utility
                 Providers.

                Coordinated with Debtor, Debtor professionals, and utility provider to
                 secure shutoff of utility services for restaurants closed under Closure
                 Consent Agreement.


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                           Reviewed and resolved questions regarding utility surety bonds and the
                            draw on those bonds for prepetition amounts owed to Utility Providers.

        y.     Wendy’s Franchisor Issues (Task Code 033)
               Fees: $496,638.00; Total Hours: 507.80

                           Researched and discussed with the Debtors and the Debtors’ advisors
                            regarding Wendy’s franchise agreement and contractual rights.

                           Filed various pleadings and prepared for and participated in mediation
                            to resolve issues related to sale process regarding Wendy’s consent and
                            franchise agreement.

                           Corresponded with the Debtors and the Debtors’ advisors regarding
                            various issues related to mediation with Wendy’s including drafting
                            mediation statements.

                           Corresponded with the Debtors and the Debtors’ advisors regarding
                            various issues related to the settlement with the Wendy’s Franchisor
                            with respect to various issues related to the Sale Transaction, the
                            Wendy’s Franchisor’s consent, and the franchise agreements.

               32.       In addition to the foregoing, Weil prepared, on behalf of the Debtors, all

necessary motions, applications, orders, notices, responses, and other papers in support of positions

taken by the Debtors and in compliance with applicable law.

               33.       The foregoing professional services were necessary and appropriate to the

administration of the Debtors’ chapter 11 cases. The professional services performed by Weil

were in the best interests of the Debtors and their stakeholders. Compensation for such services is

commensurate with the complexity, importance, and nature of the issues and tasks that were

involved in these cases. All of Weil’s professional services were performed skillfully and

efficiently.

               34.       The professional services performed by Weil’s partners, counsel,

associates, and paraprofessionals, and other non-legal staff were rendered by the Restructuring,

Corporate, Litigation, and Tax, Benefits & Executive Compensation Departments predominantly

in the New York, Houston, and Dallas offices. Weil has a preeminent Restructuring practice and



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enjoys a national reputation for its expertise in financial reorganizations and restructurings of

distressed entities.

                35.    The professional services performed by Weil on behalf of the Debtors

during the Final Compensation Period required an aggregate expenditure of approximately

25,156.60 hours by Weil’s partners, counsel, associates, paraprofessionals, and other non-legal

staff. Of the aggregate time expended, approximately 8,888.50 recorded hours were expended by

partners and counsel of Weil, approximately 15,140.40 recorded hours were expended by

associates, and approximately 1,127.70 recorded hours were expended by paraprofessionals and

other non-legal staff of Weil. Of the 113 Weil attorneys who billed time, 33 billed fewer than 15

hours to this matter. Of the 35 Weil paraprofessionals and non-legal staff who billed time, 19

billed fewer than 15 hours to this matter.

                36.    During the Final Compensation Period, Weil billed the Debtors for time

expended by attorneys based on hourly rates ranging from $595.00 to $1,795.00 per hour for

attorneys. Allowance of compensation in the amount requested would result in a blended hourly

billing rate for Weil attorneys in this Application of approximately $991.19 (based on 24,028.90

recorded hours for attorneys at Weil’s billing rates in effect at the time of the performance of

services).

                         Actual and Necessary Disbursements of Weil

                37.    As set forth in Exhibit E attached hereto, Weil has disbursed

(i) $130,036.23 as expenses incurred in providing professional services during the Third Interim

Period and (ii) $241,662.40 as expenses incurred in providing professional services during the

Final Compensation Period. These expenses are reasonable and necessary and were essential to

the overall administration of these cases.

                38.    Although Weil has not charged the Debtors for any overtime expenses,

consistent with firm policy, attorneys and other employees of Weil who worked late into the

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evenings or on weekends were reimbursed for their reasonable meal costs and their cost for

transportation home from Weil’s offices. Weil’s regular practice is not to include components of

those charges in overhead when establishing billing rates and to charge its clients for these and all

other out-of-pocket disbursements incurred during the regular course of the rendition of services.

The reimbursement amounts do not exceed those set forth in the Fee Guidelines or the Local Rules.

               39.     With respect to photocopying expenses, in compliance with the Fee

Guidelines and Local Rule 2016-1, Weil charges all of its clients $0.10 per black-and-white page;

Weil charges $0.50 per color page. With respect to legal research, Weil does not charge more than

the actual cost. Each of these categories of expenses does not exceed the maximum rate set by the

Fee Guidelines or the Local Rules. These charges are intended to cover Weil’s direct operating

costs, which costs are not incorporated into Weil’s hourly billing rates. Only clients who actually

use services of the types set forth in Exhibit E are separately charged for such services. The effect

of including such expenses as part of the hourly billing rates would impose that cost upon clients

who do not require extensive photocopying and other facilities and services. The amount of the

standard photocopying charge is intended to allow Weil to cover the related expenses of its

photocopying service.     A determination of the actual expenses per page for photocopying,

however, is dependent on both the volume of copies and the total expenses attributable to

photocopying on an annual basis.

               40.     On certain occasions, overnight delivery of documents and other materials

was required as a result of circumstances necessitating the use of such express services. These

disbursements are not included in Weil’s overhead for the purpose of setting billing rates. Weil

has made every effort to minimize its disbursements in these cases. The actual expenses incurred

in providing professional services were those that were absolutely necessary, reasonable, and

justified under the circumstances to serve the needs of the Debtors and their estates and creditors.



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                           Requested Compensation Should Be Allowed

               41.       Section 331 of the Bankruptcy Code provides for interim compensation of

professionals and incorporates the substantive standards of section 330 to govern the Court’s award

of such compensation. Section 330(a)(1) of the Bankruptcy Code provides that a Court may award

a professional employed under section 327 of the Bankruptcy Code “reasonable compensation for

actual, necessary services rendered [and] reimbursement for actual, necessary expenses.”

11 U.S.C. § 330(a)(1).

               42.       The Court of Appeals has held that the six factors found in section 330(a)(3)

of the Bankruptcy Code are to be considered when awarding compensation to professionals. See

In re Crager, 691 F.3d 671, 676 (5th Cir. 2012). Specifically, under section 330 of the Bankruptcy

Code, courts “shall consider the nature, the extent, and the value of such services, taking into

account all relevant factors,” including—

                         (A)    the time spent on such services;

                         (B)    the rates charged for such services;

                         (C)      whether the services were necessary to the
                         administration of, or beneficial at the time at which the
                         service was rendered toward the completion of, a case under
                         this title;

                         (D)    whether the services were performed within a
                         reasonable amount of time commensurate with the
                         complexity, importance, and nature of the problem, issue, or
                         task addressed;

                         (E)    with respect to a professional person, whether the
                         person is board certified or otherwise has demonstrated skill
                         and experience in the bankruptcy field; and

                         (F)     whether the compensation is reasonable based on the
                         customary compensation charged by comparably skilled
                         practitioners in cases other than cases under this title.

11 U.S.C. § 330(a)(3).




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                43.      In the instant case, Weil submits that the services for which it seeks

compensation and the expenditures for which it seeks reimbursement in this Application were

necessary for and beneficial to the preservation and maximization of value for all stakeholders and

to the orderly administration of the Debtors’ estates. The compensation requested herein is

reasonable in light of the nature, extent, and value of such services to the Debtors, their estates,

and all parties in interest.

                44.      Compensation for the foregoing services as requested is commensurate with

the complexity, importance, and nature of the issues and tasks involved. Not only were Weil’s

professional services performed skillfully and efficiently, but whenever possible, Weil sought to

minimize the cost of its services to the Debtors by utilizing talented junior attorneys and

paraprofessionals to handle the more routine aspects of case administration. In addition, groups

of the same Weil attorneys were utilized for similar tasks in these cases to minimize the costs of

intra-Weil communication and education about the Debtors’ circumstances. As described above,

the complexity of these cases required the use of specialists in Tax, Mergers and Acquisitions,

Banking and Finance, Capital Markets, Employee Benefits, and other Departments within Weil to

achieve the progress the Debtors have reached thus far in these chapter 11 cases.

                45.      In sum, the services rendered by Weil were necessary and beneficial to the

Debtors’ estates and were consistently performed in a timely manner commensurate with the types

of issues involved in these chapter 11 cases. Accordingly, approval of the compensation for

professional services and reimbursement of expenses sought in this Application is warranted.

                                               Notice

                46.      Notice of this Application will be provided in accordance with the

procedures set forth in the Interim Compensation Order. The Debtors respectfully submit that no

further notice is required.



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               47.     No previous request for the relief sought herein has been made by Weil or

the Debtors to this or any other Court.

                                             Conclusion

               48.     Weil respectfully requests that the Court award (i) interim and final

allowance of Weil’s compensation for professional services rendered during the Third Interim

Period in the amount of $6,893,064.73, consisting of $6,673,028.50 representing 100% of fees

incurred during the Third Interim Period, and reimbursement in the amount of $130,036.23,

representing 100% of actual and necessary expenses incurred during the Third Interim Period, and

(ii) final allowance of Weil’s compensation for professional services rendered during the Final

Compensation Period in the amount of $24,456,915.65 consisting of $24,215,253.25 representing

100% of fees incurred during the Final Compensation Period, and reimbursement in the amount

of $241,662.40, representing 100% of actual and necessary expenses incurred during the Final

Compensation Period, and that such allowance be without prejudice to Weil’s right to seek

additional compensation for services performed and expenses incurred during the Compensation

Periods in the event such fees and expenses were not processed at the time of this Application and

grant such other and further relief as is proper and just.




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Dated:   April 30, 2021
         Houston, Texas

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                                -and-

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                                Attorneys for Debtors and Debtors in
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                                    Certificate of Service

I hereby certify that on April 30, 2021, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.
                                                     /s/ Alfredo R. Pérez      ___________
                                                    Alfredo R. Pérez
